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                                EXHIBIT 7
    Case 1:20-cv-00484-LO-TCB Document 310-7 Filed 08/18/21 Page 2 of 13 PageID# 11080


Shaw, Todd

From:                Garnett, Stanley <SGarnett@bhfs.com>
Sent:                Thursday, August 5, 2021 12:49 PM
To:                  Papez, Elizabeth P.
Cc:                  Barrett, Claudia M.; Stokes, Patrick F.; jtrusty@ifrahlaw.com; George Calhoun; Houseal, Amanda K.;
                     Olguin, Catherine M.; Casazza, David; Shaw, Todd
Subject:             RE: Response to your emails


[WARNING: External Email]
Elizabeth,

‐The Richards matter Judge, Robert McGahey, has retired and been replaced by Ross Buchanan. Judge Buchanan is a
judge who takes a while to rule on things, so we I asked Nicole to try to go around him. I have asked Nicole Westbrook
to see if Mr. Richards’ counsel will consent to production of all confidential material to Amazon subject to the protective
order in this case. Nicole expects to have an answer early next week. I will keep you posted, but I anticipate that we will
be able to provide that production by COB on August 16, 2021.

‐Mr. Watson and Northstar are constantly evaluating their financial situation but are unable to post the $21 Million
bond. If that changes, I will see that you are notified immediately.

‐We should be able to provide complete detail on the Hoyt matter by COB on Monday, August 16, 2021.

Let me know if you have questions,

Stan Garnett

From: Papez, Elizabeth P. <EPapez@gibsondunn.com>
Sent: Wednesday, August 4, 2021 8:37 PM
To: Garnett, Stanley <SGarnett@bhfs.com>
Cc: Barrett, Claudia M. <CBarrett@gibsondunn.com>; Stokes, Patrick F. <PStokes@gibsondunn.com>;
jtrusty@ifrahlaw.com; George Calhoun <george@ifrahlaw.com>; Houseal, Amanda K. <ahouseal@bhfs.com>; Olguin,
Catherine M. <COLGUIN@bhfs.com>; Casazza, David <DCasazza@gibsondunn.com>; Shaw, Todd
<TShaw@gibsondunn.com>
Subject: Re: Response to your emails

Thanks Stan.

Elizabeth P. Papez

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1050 Connecticut Avenue, NW
Washington, DC 20036
Tel +1 202.955.8608 (o)
Tel +1 703.887.2062 (m)
EPapez@gibsondunn.com
www.gibsondunn.com

On Aug 4, 2021, at 10:00 PM, Garnett, Stanley <SGarnett@bhfs.com> wrote:

                                                             1
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[WARNING: External Email]
Elizabeth,

Apologies for not getting back to you today I had some unexpected developments in another case. I will respond to your
email by noon, Mountain, tomorrow.

Thanks,

Stanley L. Garnett
Brownstein Hyatt Farber Schreck, LLP
410 Seventeenth Street, Suite 2200
Denver, CO. 80202
303.223.1286 tel
303.668.3113 cell
Sgarnett@bhfs.com



          On Aug 3, 2021, at 9:29 AM, Papez, Elizabeth P. <EPapez@gibsondunn.com> wrote:


          Thanks Stan. We appreciate your response. Regarding the points below:

                 The Richards protective order states that production can be made on consent as we have
                  discussed, so we look forward to the update on your clients’ production. You mention below
                  providing that update on August 3, which is today (not Wednesday). Can we expect to receive
                  that update by mid‐morning your time?

                 On the injunction, our requests last week, like our requests since June 2020, were not confined
                  to posting the entire $21 million, but any portion thereof. Is it your clients’ position that they
                  are and have been unable to post even a penny of the required security from June 5 through
                  today?

                 Re the disposition of 800 Hoyt, and reserving all rights regarding information your clients were
                  ordered to produce before now, when do you plan to you provide the detail you describe below
                  regarding the $13 million in sales proceeds? The timing is obviously sensitive given the posture
                  of the case and your statement on Friday that you expect those proceeds to be distributed
                  sometime in September.

          Thanks again and regards,

          Elizabeth P. Papez

          GIBSON DUNN
          Gibson, Dunn & Crutcher LLP
          1050 Connecticut Avenue, NW
          Washington, DC 20036
          Tel +1 202.955.8608 (o)
          Tel +1 703.887.2062 (m)
          EPapez@gibsondunn.com
          www.gibsondunn.com


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   From: Garnett, Stanley <SGarnett@bhfs.com>
   Sent: Friday, July 30, 2021 5:09 PM
   To: Papez, Elizabeth P. <EPapez@gibsondunn.com>
   Cc: Barrett, Claudia M. <CBarrett@gibsondunn.com>; Stokes, Patrick F. <PStokes@gibsondunn.com>;
   jtrusty@ifrahlaw.com; George Calhoun <george@ifrahlaw.com>; Houseal, Amanda K.
   <ahouseal@bhfs.com>; Olguin, Catherine M. <COLGUIN@bhfs.com>; Casazza, David
   <DCasazza@gibsondunn.com>; Shaw, Todd <TShaw@gibsondunn.com>
   Subject: Re: Response to your emails

   [WARNING: External Email]
   Elizabeth,

   Thanks for your time today, with Patrick and Claudia. As we discussed, with regard to the three items
   you raised:

   ‐Mr. Watson and Northstar are unable to post the $21 Million. They are willing to do so, but simply do
   not have the funds. As you know, they tried to obtain a bond, but were unable to do so due to lack
   of unencumbered assets and, due to the financial situation, largely precipitated by this dispute, no one
   will issue a bond without security.

   ‐ Mr. Watson has not been the manager of the Hoyt LLC since June of 2020. The current manager is Don
   Marcotte . Mr. Watson and Northstar do not have access to or control of the $13 Million in Hoyt
   proceeds. Though we believe previous discovery responses provided much of the information about
   this, and the relevant documents, we will work with Mr. Watson to provide a supplemental
   interrogatory response laying it out in more detail.

   ‐Re: the Richards matter, i have spoken with Nicole Westbrook at Jones and Keller re: the documents in
   the Richards matter, which are controlled by a protective order issued by Judge McGahey. I will have an
   email update by mid morning Wednesday, August 3, regarding what will be necessary to produce those,
   consistent with the protective order.

   I hope you all have a nice weekend.

   Thanks,

   Stanley L. Garnett
   Brownstein Hyatt Farber Schreck, LLP
   410 Seventeenth Street, Suite 2200
   Denver, CO. 80202
   303.223.1286 tel
   303.668.3113 cell
   Sgarnett@bhfs.com




             On Jul 30, 2021, at 10:43 AM, Papez, Elizabeth P. <EPapez@gibsondunn.com> wrote:


             Thanks and look forward to speaking.

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        Elizabeth P. Papez

        GIBSON DUNN
        Gibson, Dunn & Crutcher LLP
        1050 Connecticut Avenue, NW
        Washington, DC 20036
        Tel +1 202.955.8608 (o)
        Tel +1 703.887.2062 (m)
        EPapez@gibsondunn.com
        www.gibsondunn.com




        From: Garnett, Stanley <SGarnett@bhfs.com>
        Sent: Friday, July 30, 2021 12:38 PM
        To: Papez, Elizabeth P. <EPapez@gibsondunn.com>
        Cc: Barrett, Claudia M. <CBarrett@gibsondunn.com>; Stokes, Patrick F.
        <PStokes@gibsondunn.com>; jtrusty@ifrahlaw.com; George Calhoun
        <george@ifrahlaw.com>; Houseal, Amanda K. <ahouseal@bhfs.com>; Olguin, Catherine
        M. <COLGUIN@bhfs.com>; Casazza, David <DCasazza@gibsondunn.com>; Shaw, Todd
        <TShaw@gibsondunn.com>
        Subject: Re: Response to your emails

         [WARNING: External Email]
        Elizabeth,

        Thanks. Amanda and I will be ready to discuss these issues.

        Stanley L. Garnett
        Brownstein Hyatt Farber Schreck, LLP
        410 Seventeenth Street, Suite 2200
        Denver, CO. 80202
        303.223.1286 tel
        303.668.3113 cell
        Sgarnett@bhfs.com




                On Jul 30, 2021, at 10:33 AM, Papez, Elizabeth P.
                <EPapez@gibsondunn.com> wrote:


                Stan – we look forward to talking shortly. To help focus the call, we
                understand that you’ll be prepared to discuss:

                        Your clients’ response to our question last week about whether
                         they’re now willing to post some or all of the amount required
                         by paragraph 2 of the June 2020 injunction;
                        Whether WDC/Northstar or any other entity subject to either of
                         your clients’ control has possession or rights to any of the $13M
                         in Hoyt proceeds you said “Brian Watson” does not control, and
                                                     4
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                        if not, who does control or have rights to those funds and where
                        the funds are located;
                       Your clients’ position on producing information that is within
                        their possession, custody or control and responsive to the
                        requests they have been ordered to answer in our case, and
                        that they either designated in the Richards case or could
                        otherwise be produced under the Richards protective order
                        with Mr. Richard’s consent.
              Thanks,

              Elizabeth P. Papez

              GIBSON DUNN
              Gibson, Dunn & Crutcher LLP
              1050 Connecticut Avenue, NW
              Washington, DC 20036
              Tel +1 202.955.8608 (o)
              Tel +1 703.887.2062 (m)
              EPapez@gibsondunn.com
              www.gibsondunn.com




              From: Garnett, Stanley <SGarnett@bhfs.com>
              Sent: Thursday, July 29, 2021 7:22 AM
              To: Barrett, Claudia M. <CBarrett@gibsondunn.com>
              Cc: Papez, Elizabeth P. <EPapez@gibsondunn.com>; Stokes, Patrick F.
              <PStokes@gibsondunn.com>; jtrusty@ifrahlaw.com; George Calhoun
              <george@ifrahlaw.com>; Houseal, Amanda K. <ahouseal@bhfs.com>;
              Olguin, Catherine M. <COLGUIN@bhfs.com>
              Subject: Re: Response to your emails


              [WARNING: External Email]
              That works.

              Stanley L. Garnett
              Brownstein Hyatt Farber Schreck, LLP
              410 Seventeenth Street, Suite 2200
              Denver, CO. 80202
              303.223.1286 tel
              303.668.3113 cell
              Sgarnett@bhfs.com




                        On Jul 29, 2021, at 5:19 AM, Barrett, Claudia M.
                        <CBarrett@gibsondunn.com> wrote:

                        How about Friday at 1 pm Eastern?
                                                    5
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                    Claudia M. Barrett
                    Of Counsel




                    GIBSON DUNN




                    Gibson, Dunn & Crutcher LLP
                    1050 Connecticut Avenue, N.W., Washington, DC 20036-5306
                    Tel +1 202.887.3642 • Fax +1 202.530.9619
                    CBarrett@gibsondunn.com • www.gibsondunn.com

                    On Jul 28, 2021, at 7:25 PM, Garnett, Stanley
                    <SGarnett@bhfs.com> wrote:



                     [WARNING: External Email]

                    Thanks, Claudia. I’m testifying as an expert witness
                    tomorrow and am on call pretty much all day for
                    testimony and rebuttal. But Friday late am
                    and afternoon look pretty open.

                    Best,

                    Stanley L. Garnett
                    Brownstein Hyatt Farber Schreck, LLP
                    410 Seventeenth Street, Suite 2200
                    Denver, CO. 80202
                    303.223.1286 tel
                    303.668.3113 cell
                    Sgarnett@bhfs.com




                            On Jul 28, 2021, at 5:10 PM, Barrett,
                            Claudia M.
                            <CBarrett@gibsondunn.com> wrote:


                            Thanks for your email, Stan. Can you let
                            us know your availability tomorrow for
                            a call?

                            Claudia M. Barrett
                            Of Counsel
                                                 6
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                          GIBSON DUNN
                          Gibson, Dunn & Crutcher LLP
                          1050 Connecticut Avenue, N.W.,
                          Washington, DC 20036-5306
                          Tel +1 202.887.3642 • Fax +1 202.530.9619
                          CBarrett@gibsondunn.com • www.gibsondu
                          nn.com



                          From: Garnett, Stanley
                          <SGarnett@bhfs.com>
                          Sent: Wednesday, July 28, 2021 6:43
                          PM
                          To: Barrett, Claudia M.
                          <CBarrett@gibsondunn.com>
                          Cc: Papez, Elizabeth P.
                          <EPapez@gibsondunn.com>; Stokes,
                          Patrick F. <PStokes@gibsondunn.com>;
                          jtrusty@ifrahlaw.com; George Calhoun
                          <george@ifrahlaw.com>; Houseal,
                          Amanda K. <ahouseal@bhfs.com>;
                          Olguin, Catherine M.
                          <COLGUIN@bhfs.com>
                          Subject: Response to your emails


                          [WARNING: External Email]

                          Claudia,

                          I write as a follow up to Defendants’
                          third supplemental responses to
                          Plaintiffs’ interrogatories and in
                          response to your emails from today and
                          Monday, July 26, 2021.

                          Defendants have now provided to
                          Plaintiffs their supplemental responses
                          to Interrogatories 2, 3, and 6, which
                          include additional information
                          regarding Defendants’
                          funds. Defendants have no amendment
                          or supplement to their answers to
                          Interrogatory No. 5. Additionally,
                          Defendants have now provided the pre‐
                          April 1, 2020 documents on the
                          privilege log.

                          With regard to your question
                          concerning the document production of
                          previously privileged documents, we
                          produced entire families of documents
                                              7
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                          that were previously separated due to
                          privilege claims. For example, where
                          the privilege log had a single entry
                          listing the main document as privileged
                          and the attachments to that document
                          were not privileged and were therefore
                          previously produced, we produced the
                          entire family. This increased the
                          number of total documents produced.
                          The highlighted records listed in your
                          email have a one to one relationship
                          with the log and have bates numbers
                          listed on the log.

                          With regard to the Richards case, my
                          July 26, 2021 letter did not confirm that
                          there are responsive materials. In fact,
                          knowing the general scope of that
                          litigation, I doubt that there are
                          responsive documents in that
                          discovery. However, even if such exist,
                          Jones and Keller, counsel of record on
                          that matter for Mr. Watson and
                          Northstar informed you some time
                          ago that they are covered by a
                          protective order, entered by Judge
                          McGahey. Nicole Westbrook, the
                          partner in charge of the Richards case
                          at Jones and Keller told you this
                          sometime ago. It is not my clients’
                          obligation to seek amendment of a
                          court order to release any
                          “confidential” material that has been so
                          designated pursuant to the protective
                          order.

                          Finally, I think it is appropriate to note
                          that we remain committed to working
                          through any good faith discovery
                          concerns with you and your colleagues,
                          including in “meet and confer” phone
                          conversations, such as my paralegal
                          Catherine Olguin and I had last
                          Thursday with you and 4 other lawyers
                          from Gibson Dunn for over an hour.
                          However, it is frustrating to have my
                          general expressions of willingness to
                          look into things and consider your
                          position to be interpreted, “gotcha”
                          fashion, as binding commitments.



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                          Hopefully this answers your concerns,
                          but if I have missed something, send me
                          an email or we can (carefully) have
                          another phone conversation.

                          Thank you,

                          Stan



                          Stanley L. Garnett
                          Brownstein Hyatt Farber Schreck,
                          LLP
                          410 Seventeenth Street, Suite 2200
                          Denver, CO. 80202
                          303.223.1286 tel
                          303.668.3113 cell
                          Sgarnett@bhfs.com

                          <image001.png>

                          <image002.jpg>


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